91 F.3d 122
    Thomas A. Boch, D.C., Pennsylvania Chiropractic Societyv.Barbara A. Afflerbach, Augustus Hatzas, Theodore T.Yanchuleff, Thomas W. Zaucha, Theresa A. Lipp, PatriciaAleci, Madeline D. Leth, Dorothy Childress, Commissioner ofBureau of Professional and Occupational Affairs,Pennsylvania Physical Therapy Association
    NO. 95-7530
    United States Court of Appeals,Third Circuit.
    June 26, 1996
    Appeal From:  M.D.Pa., No. 95-cv-00634
    
      1
      VACATED.
    
    